     Case 2:18-cv-01584-MCE-KJN Document 5 Filed 06/08/18 Page 1 of 3

 1   XAVIER BECERRA, State Bar No. 118517
     Attorney General of California
 2   PAUL STEIN, State Bar No. 184956
     Supervising Deputy Attorney General
 3   SHARON L. O’GRADY, State Bar No. 102356
     Deputy Attorney General
 4    455 Golden Gate Avenue, Suite 11000
      San Francisco, CA 94102-7004
 5    Telephone: (415) 510-3840
      Fax: (415) 703-1234
 6    E-mail: Sharon.OGrady@doj.ca.gov
     Attorneys for Defendants California Secure Choice
 7   Retirement Savings Program and State Treasurer
     John Chiang
 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   HOWARD JARVIS TAXPAYERS                                2:18-cv-01584-MCE-KJN
     ASSOCIATION, JONATHAN COUPAL,
13   and DEBRA DESROSIERS,                                  NOTICE OF APPEARANCE

14                                        Plaintiffs,

15                 v.

16
     THE CALIFORNIA SECURE CHOICE
17   RETIREMENT SAVINGS PROGRAM and
     JOHN CHIANG, in his official capacity as
18   chair of the California Secure Choice
     Retirement Savings Investment Board,
19
                                        Defendants.
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21

22        The California Attorney General, counsel for defendants State Treasurer John Chiang and

23   the California Secure Choice Retirement Savings Program, hereby files this Notice of Appearance

24   to inform the Court of assigned counsel for Defendant in this proceeding.

25        //

26        //

27        //

28        //
                                                        1
                                                                Notice of Appearance (2:18-cv-01584-MCE-KJN)
     Case 2:18-cv-01584-MCE-KJN Document 5 Filed 06/08/18 Page 2 of 3

 1   Respondent hereby notifies the Court that the attorney with principal charge of the case is as

 2   follows:

 3         Sharon L. O’Grady, Deputy Attorney General
           455 Golden Gate Avenue, Suite 11000
 4         San Francisco, CA 94102-7004
           Telephone: (415) 510-3834
 5         E-mail: Sharon.OGrady@doj.ca.gov
 6

 7   Dated: June 8, 2018                                  Respectfully submitted,
 8                                                        XAVIER BECERRA
                                                          Attorney General of California
 9                                                        PAUL STEIN
                                                          Supervising Deputy Attorney General
10

11
                                                           /s/ Sharon L. O’Grady
12                                                        SHARON L. O’GRADY
                                                          Deputy Attorney General
13                                                        Attorneys for Defendants California Secure
                                                          Choice Retirement Savings Program and
14                                                        State Treasurer John Chiang
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                                                             Notice of Appearance (2:18-cv-01584-MCE-KJN)
         Case 2:18-cv-01584-MCE-KJN Document 5 Filed 06/08/18 Page 3 of 3



                              CERTIFICATE OF SERVICE
Case Name:       Howard Jarvis Taxpayer's             Case No.     2:18-cv-01584-MCE-KJN
                 Association, et al. v. The
                 California Secure Choice
                 Retirement Savings Program, et
                 al.

I hereby certify that on June 8, 2018, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
NOTICE OF APPEARANCE
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on June 8, 2018, at San Francisco, California.


                M. Mendiola                                      /s/ M. Mendiola
                 Declarant                                           Signature

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